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                             EXHIBIT C
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



   WISCONSIN VOTERS ALLIANCE, et al.,

          Plaintiffs,
                  v.                                          Civil Action No. 20-3791 (JEB)
   VICE PRESIDENT MICHAEL R.
   PENCE, et al.,

          Defendants.


                                   MEMORANDUM OPINION

        Plaintiffs’ aims in this election challenge are bold indeed: they ask this Court to declare

 unconstitutional several decades-old federal statutes governing the appointment of electors and

 the counting of electoral votes for President of the United States; to invalidate multiple state

 statutes regulating the certification of Presidential votes; to ignore certain Supreme Court

 decisions; and, the coup de grace, to enjoin the U.S. Congress from counting the electoral votes

 on January 6, 2021, and declaring Joseph R. Biden the next President.

        Voter groups and individual voters from the states of Wisconsin, Pennsylvania, Georgia,

 Michigan, and Arizona have brought this action against Vice President Michael R. Pence, in his

 official capacity as President of the Senate; both houses of Congress and the Electoral College

 itself; and various leaders of the five aforementioned states. Simultaneous with the filing of their

 Complaint, Plaintiffs moved this Court to preliminarily enjoin the certifying of the electors from

 the five states and the counting of their votes. In addition to being filed on behalf of Plaintiffs

 without standing and (at least as to the state Defendants) in the wrong court and with no effort to

 even serve their adversaries, the suit rests on a fundamental and obvious misreading of the


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 Constitution. It would be risible were its target not so grave: the undermining of a democratic

 election for President of the United States. The Court will deny the Motion.

 I.      Background

         To say that Plaintiffs’ 116-page Complaint, replete with 310 footnotes, is prolix would be

 a gross understatement. After explicitly disclaiming any theory of fraud, see ECF No. 1

 (Complaint), ¶ 44 (“This lawsuit is not about voter fraud.”), Plaintiffs spend scores of pages

 cataloguing every conceivable discrepancy or irregularity in the 2020 vote in the five relevant

 states, already debunked or not, most of which they nonetheless describe as a species of fraud.

 E.g., id., at 37–109. Those allegations notwithstanding, Plaintiffs’ central contention is that

 certain federal and state election statutes ignore the express mandate of Article II of the

 Constitution, thus rendering them invalid. Id. at 109–12. Although the Complaint also asserts

 causes of action for violations of the Equal Protection and Due Process Clauses, those are merely

 derivative of its first count. Id. at 112–15.

         In order to provide an equitable briefing and hearing schedule on a very tight timetable,

 this Court immediately instructed Plaintiffs to file proofs of service on Defendants so that they

 could proceed on their preliminary-injunction Motion. See 12/23/20 Min. Order; Fed. R. Civ. P.

 65(a)(1) (“The court may issue a preliminary injunction only on notice to the adverse party.”).

 Twelve days later, Plaintiffs have still not provided proof of notice to any Defendant, let alone

 filed a single proof of service or explained their inability to do so.

 II.     Legal Standard

         “A preliminary injunction is an extraordinary remedy never awarded as of right.” Winter

 v. NRDC, 555 U.S. 7, 24 (2008). “A plaintiff seeking a preliminary injunction must establish [1]

 that he is likely to succeed on the merits, [2] that he is likely to suffer irreparable harm in the



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 absence of preliminary relief, [3] that the balance of equities tips in his favor, and [4] that an

 injunction is in the public interest.” Sherley v. Sebelius, 644 F.3d 388, 392 (D.C. Cir. 2011)

 (quoting Winter, 555 U.S. at 20). “The moving party bears the burden of persuasion and must

 demonstrate, ‘by a clear showing,’ that the requested relief is warranted.” Hospitality Staffing

 Solutions, LLC v. Reyes, 736 F. Supp. 2d 192, 197 (D.D.C. 2010) (citing Chaplaincy of Full

 Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006)).

        Before the Supreme Court’s decision in Winter, courts weighed these factors on a

 “sliding scale,” allowing “an unusually strong showing on one of the factors” to overcome a

 weaker showing on another. Davis v. Pension Ben. Guar. Corp., 571 F.3d 1288, 1291–92 (D.C.

 Cir. 2009) (quoting Davenport v. Int’l Bhd. of Teamsters, 166 F.3d 356, 361 (D.C. Cir. 1999)).

 Both before and after Winter, however, one thing is clear: a failure to show a likelihood of

 success on the merits alone is sufficient to defeat the motion. Ark. Dairy Coop. Ass’n, Inc. v.

 USDA, 573 F.3d 815, 832 (D.C. Cir. 2009) (citing Apotex, Inc. v. FDA, 449 F.3d 1249, 1253–54

 (D.C. Cir. 2006)); Archdiocese of Wash. v. Wash. Metro. Area Transit Auth., 281 F. Supp. 3d

 88, 99 (D.D.C. 2017), aff’d on other grounds, 897 F.3d 314 (D.C. Cir. 2018).

 III.   Analysis

        Given that time is short and the legal errors underpinning this action manifold, the Court

 treats only the central ones and in the order of who, where, what, and why. Most obviously,

 Plaintiffs have not demonstrated the “irreducible constitutional minimum of standing.” Lujan v.

 Defs. of Wildlife, 504 U.S. 555, 560 (1992). Although they claim to have been

 “disenfranchised,” ECF No. 4 (PI Mem.) at 37, this is plainly not true. Their votes have been

 counted and their electors certified pursuant to state-authorized procedures; indeed, any vote

 nullification would obtain only were their own suit to succeed. To the extent that they argue



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 more broadly that voters maintain an interest in an election conducted in conformity with the

 Constitution, id. at 38, they merely assert a “generalized grievance” stemming from an attempt to

 have the Government act in accordance with their view of the law. Hollingsworth v. Perry, 570

 U.S. 693, 706 (2013). This does not satisfy Article III’s demand for a “concrete and

 particularized” injury, id. at 704, as other courts have recently noted in rejecting comparable

 election challenges. See Wood v. Raffensperger, 981 F.3d 1307, 1314–15 (11th Cir. 2020);

 Bowyer v. Ducey, No. 20-2321, 2020 WL 7238261, at *4–5 (D. Ariz. Dec. 9, 2020); King v.

 Whitmer, No. 20-13134, 2020 WL 7134198, at *10 (E.D. Mich. Dec. 7, 2020). Plaintiffs’

 contention that the state legislature is being deprived of its authority to certify elections,

 moreover, cannot suffice to establish a distinct injury-in-fact to the individuals and organizations

 before this Court. Finally, to the extent that Plaintiffs seek an injunction preventing certain state

 officials from certifying their election results, see PI Mem. at 1, that claim is moot as

 certification has already occurred. Wood, 981 F.3d at 1317.

         Moving on from subject-matter jurisdiction, the Court must also pause at personal

 jurisdiction. Plaintiffs cannot simply sue anyone they wish here in the District of Columbia. On

 the contrary, they must find a court or courts that have personal jurisdiction over each Defendant,

 and they never explain how a court in this city can subject to its jurisdiction, say, the Majority

 Leader of the Wisconsin State Senate. Absent personal jurisdiction over a particular Defendant,

 of course, this Court lacks authority to compel him to do anything.

         Even if the Court had subject-matter and personal jurisdiction, it still could not rule in

 Plaintiffs’ favor because their central contention is flat-out wrong. “Plaintiffs claim that Article

 II of the U.S. Constitution provides a voter a constitutional right to the voter’s Presidential vote

 being certified as part of the state legislature’s post-election certification of Presidential electors.



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 Absence [sic] such certification, the Presidential electors’ votes from that state cannot be counted

 by the federal Defendants toward the election of President and Vice President.” Compl., ¶ 32

 (emphasis added); see also PI Mem. at 1. More specifically, “Plaintiffs [sic] constitutional

 claims in this lawsuit are principally based on one sentence in Article II of the U.S.

 Constitution.” Compl., ¶ 54; see also PI Mem. at 1. That sentence states in relevant part that the

 President “shall hold his Office during the Term of four Years, and . . . be elected[] as follows:

 [¶] Each State shall appoint, in such Manner as the Legislature thereof may direct, a Number of

 Electors . . . .” U.S. Const., art. II, § 1.

          Plaintiffs somehow interpret this straightforward passage to mean that state legislatures

 alone must certify Presidential votes and Presidential electors after each election, and that

 Governors or other entities have no constitutionally permitted role. See Compl., ¶ 55. As a

 result, state statutes that delegate the certification to the Secretary of State or the Governor or

 anyone else are invalid. Id., ¶ 58. That, however, is not at all what Article II says. The above-

 quoted language makes manifest that a state appoints electors in “such Manner as the Legislature

 thereof may direct.” So if the legislature directs that the Governor, Secretary of State, or other

 executive-branch entity shall make the certification, that is entirely constitutional. This is

 precisely what has happened: in each of the five states, the legislature has passed a statute

 directing how votes are to be certified and electors selected. See Ariz. Rev. Stat. Ann. § 16-

 212(B); Ga. Code Ann. § 21-2-499(b); Mich. Comp. Laws Ann. § 168.46; Wis. Stat. Ann.

 § 7.70(5)(b); 25 Pa. Stat. § 3166.

         For example, Georgia requires its Secretary of State to “certify the votes cast for all

 candidates . . . and lay the returns for presidential electors before the Governor. The Governor

 shall enumerate and ascertain the number of votes for each person so voted and shall certify the



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 slates of presidential electors receiving the highest number of votes.” Ga. Code Ann. § 21-2-

 499(b). Similarly, under Michigan law, “the governor shall certify, under the seal of the state, to

 the United States secretary of state, the names and addresses of the electors of this state chosen

 as electors of president and vice-president of the United States.” Mich. Comp. Laws Ann.

 § 168.46. Plaintiffs’ theory that all of these laws are unconstitutional and that the Court should

 instead require state legislatures themselves to certify every Presidential election lies somewhere

 between a willful misreading of the Constitution and fantasy.

        Plaintiffs readily acknowledge that their position also means that the Supreme Court’s

 decisions in Bush v. Gore, 531 U.S. 98 (2000), and Texas v. Pennsylvania, No. 155 (Orig.), 2020

 WL 7296814 (U.S. Dec. 11, 2020), “are in constitutional error.” Compl., ¶ 76. They do not,

 however, explain how this District Court has authority to disregard Supreme Court precedent.

 Nor do they ever mention why they have waited until seven weeks after the election to bring this

 action and seek a preliminary injunction based on purportedly unconstitutional statutes that have

 existed for decades — since 1948 in the case of the federal ones. It is not a stretch to find a

 serious lack of good faith here. See Trump v. Wis. Elections Comm’n, No. 20-3414, 2020 WL

 7654295, at *4 (7th Cir. Dec. 24, 2020).

        Yet even that may be letting Plaintiffs off the hook too lightly. Their failure to make any

 effort to serve or formally notify any Defendant — even after reminder by the Court in its

 Minute Order — renders it difficult to believe that the suit is meant seriously. Courts are not

 instruments through which parties engage in such gamesmanship or symbolic political gestures.

 As a result, at the conclusion of this litigation, the Court will determine whether to issue an order

 to show cause why this matter should not be referred to its Committee on Grievances for

 potential discipline of Plaintiffs’ counsel.



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 IV.    Conclusion

        As Plaintiffs have established no likelihood of success on the merits here, the Court will

 deny their Motion for Preliminary Injunction. A contemporaneous Order so stating will issue

 this day.

                                                     /s/ James E. Boasberg
                                                     JAMES E. BOASBERG
                                                     United States District Judge

 Date: January 4, 2021




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